
233 Md. 618 (1963)
195 A.2d 682
TITUS
v.
WARDEN OF THE MARYLAND PENITENTIARY
[App. No. 77, September Term, 1963.]
Court of Appeals of Maryland.
Decided December 12, 1963.
*619 Before the full Court.
PER CURIAM:
Application for leave to appeal from a denial of post conviction relief is denied for the reasons set out in the opinion of Judge Foster in the court below. On the point of illegal search, Judge Foster held that the point was not open on post conviction because the record showed that no objection was made at the trial on July 2, 1962, after the decision of Mapp v. Ohio, 367 U.S. 643. We agree. See Porter v. State, 230 Md. 535, and Shorey v. State, 227 Md. 385. Cf. Edwards v. Warden, 232 Md. 667. The cases recognize that even on direct appeal a procedural requirement of objection may be enforced in a State court without violation of constitutional rights, so that failure to object to the introduction of evidence obtained as a result of an illegal search would bar review.
